




02-13-024-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-13-00024-CV

&nbsp;

&nbsp;


 
  
  In re All Commercial Floors, Inc. and Kevin Jones
  
  
  &nbsp;
  
  
  RELATORS
  
 


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&nbsp;

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ORIGINAL PROCEEDING

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MEMORANDUM
OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relators’ petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp; Accordingly, relators’ petition for writ
of mandamus is denied.

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
MEIER, J.; LIVINGSTON, C.J.; and WALKER, J.

&nbsp;

DELIVERED:&nbsp;
January 23, 2013









[1]See
Tex. R. App. P. 47.4, 52.8(d).







